




Dismissed and Memorandum Opinion filed March 26, 2009








Dismissed
and Memorandum Opinion filed March 26, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00221-CV

____________

&nbsp;

MARIA CHANAS ORDONEZ, Appellant

&nbsp;

V.

&nbsp;

PLAZA DEL REY PARTNERSHIP, LP, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 1

Harris County,
Texas

Trial Court Cause
No. 921751

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed January 7, 2009.&nbsp; On March 16, 2009, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Justices Yates, Guzman, and Sullivan. 





